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                 IN THE UNITED STATES DISTRICT COURT F'OR THE
                             DISTRICT OF COLORADO




                REVISED JURY PLAN FORRANDOM JURY SELECTION

                             Adopted by the District Court:

                                    December 712016

                     Approved by the Tenth Circuit Court of Appeals:

                                    January 30,2417

                                  Implementation Date:

                                     March 1,2017




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                                   UNITED STATES DISTRICT COURT
                                   FOR TTIE DISTRICT OF COLORADO

                     REVISED JURY PLAN FOR RANDOM JURY SELECTION
            Pursuant to the Jury Selection and Service Act of 1968, as amended (28 U.S.C.
    $$ 1861-1878), this court adopts the following Revised Jury Plan for Random Jury Selection
    (Jury Plan). This plan is subject to the approval of the reviewing panel of the Judicial Courcil
    of the Tenth Circuit Court of Appeals. Once approved, this Jury Plan supersedes the previous
    Jury Plan in effect in the District of Colorado.

    JURY PLAN POLICY

      l.   Declaration of Policv
               The policy of the United States District Court for the District of Colorado is that all
     litigarlts within the district entitled to trial by jury have the right to grand and petit juries selected
     at random from a f¿ir cross section of the communities wherein the court convenes. Further, all
     citizens in the district shall have the opportunity to be considered 1'or service on grand and petit
    juries in the district and shall have an obligation to serve as jurors when summoned for that
    purpose.

      2.   Discrimination Prohibited
           No citizen shall be excluded fi'om service as a grand or petit juror in this district on
    account of race, color, religion, sex, sexual orientation, national origin, or econoffric status.

      3.   Applicabilitv of Plan
             The United States District Court for the District of Colorado adopts this plan for
    random selection of prospective grand and petit jurors to achieve the objectives of 28
    U.S.C. $$ 1861 and 1862. Pursurant to 28 U.S.C. $ 85, Colorado constitutes one judicial
    district, and court is held at Boulder, Colorado Springs, Denver, Durango, Grand Junction,
    Montrose, Pueblo and Sterling. For purpose ofjury selection, a master jury wheel shall be
    maintained in support of all the jury divisions of the district. This plan shall serr¿e as guidance
    for the management of the jury selection process in all of the jury divisions.

     4.    Plan Manasement
            The clerk of the court shall manage the prospective jury selection process, subject to the
    supervision and control of the chiefjudge. The clerk may authorize designated deputies to
    assist with the performance of functions under this plan. The chiefjudge may authorize non-
    court personnel to assist the clerk in the performance of the clerk's functions under this plan.

     5.    Public Access
            The clerk shall retain and provide public access to this plan by filing it as a
    miscellaneous case in CM/ECF, posting a copy in the clerk's offìce, and posting a copy on the
    conrt's website.



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    MASTER JURY \ilHEEL ADMINISTRATION

      6.   Jury Dívisions
             The district is divided into fourjury divisions for jury selection.

                  Jury Division One (Denver) consistins of twenty-four (241counties

               Adams                                Elbert                           Morgan
              Arapahoe                              Gilpin                            Park
               Boulder                              Grand                            Phillips
             Broomfield                            Jackson                          Sedgwick
               Chaffee                            Jefferson                          Summit
             Clear Creek                             Lake                          Washington
               Denver                              Larimer                            Weld
              Douglas                               Logan                             Yuma

                    Jurv Division Two (Duranso) consistine of eleven (11) counties

              Archuleta                           LaPlata                           San.luan
               Coneios                           Mineral                           San   Miguel
               Dolores                          Montezuma                          Rio Grande
              Hinsdale                            Ouray



                 Jurv Division Three (Grand Junction) consistins of ten (101 counties

               Delta                                Mesa                           Rio Blanco
               Easle                               Moffat                             Routt
              Garfield                            Montrose
              Gunnison                             Pitkin

                   Jurv Division Four (Pueblo) consisting of nineteen (19) counties

              Alamosa                              El Paso                           Otero
                Baca                              Fremont                           Prowers
                Bent                              Huerfano                           Pueblo
              Cheyenne                             Kiowa                            Saguache
               Costilla                         Kit Carson                           Teller
              Crowley                           Las Animas
               Custer                             Lincoln

     7. Jurv Selection Source
            a.      The source fiom which names of prospective jurors shall be selected at
                    random shall be the Colorado General Election Voter Registration List,


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                   maintained by the Colorado Secretary of State's office for all counties within
                   each jury division of the district. The Voter Registration List shall be
                   supplemented by the list of licensed drivers and state issued adult
                   identification records maintained by the Colorado Deparünent of Revenue for
                   all counties within each jury division of the district.
             b.    The lists shall be merged with one another and referred to as the "source list."
                   Duplicate names from the lists shall be eliminated by using a properly
                   programmed electronic data processing system.
             c.    The names of prospective grand and petit jurors for the master jury wheel will be
                   selected frorn the source list.

      8.   Names Selected from Source List for Master Jury Wheel
             a.    The selection of names from the source list for the master jury wheel shall be
                   conducted through the use of an authorized properly programmed electronic data
                   processing system that can accomplish the purely randomized selection ofjurors.

            b      To calculate the total number of registered voters within a respective jury
                   division, the clerk shall add the totals fi'om each county within the division. The
                   total number for each county will be based on an electronic data processing
                   method designed to achieve a mechanized count of all narnes on the voter
                   registration list.
            c      The number of names to be drawn for the master jury wheel from each county
                   shall be in the same substantial proporlion as to the total number listed on the
                   voter registration list for each county as to the total nrunber on the voter
                   registration lists for all counties within the division.

            d.     After detennining the total number of names required for the master jury wheel
                   and the proportionate number of names to be drawn from the source list for each
                   county, the selection of names shall be made in a purely randomized manner by a
                   properly programmed electronic data processing system to produce the total
                   number of names required for the master jury wheel.
            d       The automated random selection of names described in this section ensures that
                    each county within each jury division is proportionally represented in relation to
                   the total nunber of registered votets, in accordance with 28 U.S.C. $
                    1863(bX3). The process of selecting names frorn the source list for the master
                   jury wheel shall also ensure that the mathematical odds of any single name
                   being selected are substantially equal.
            e      The total number of prospective juror names   will   be based on historical ìury
                   usage needs and projected workloads.

     9.    Master Jury Wheel
            a.     The clerk shall maintain the master jury wheel for the district. The master jury
                   wheel is an electronic database.



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             b     Names of all persons randomly selected from the source list for each
                   county shall be placed in the master jury wheel.
             c     The chiefjudge may order additional names to be selected and placed in the
                   masterjury wheel periodically as may be necessary.
             d.    The master jury wheel will be ernptied and refilled between January 1 and
                   October 1 in every odd-numbered year.
             e.    The minirnum number of names to be placed in the rnaster jury wheel for the
                   district:
                   Jury Division One: whichever is greater, fifty thousand (50,000) names or
                   at least one-halfofone percent ofthe total nurnber ofpersons on the source
                   list for the designated counties;
                   Jury Division Two: whichever is greater, eight thousand (8,000)
                   names or at least one-half of one percent of the total number of
                   persons on the source list fbr the designated counties;
                   Jury Division Three: whichever is greater, eight thousand (8,000)    names
                   or at least one-half of one percerf of the total number of persons on the
                   source list for the designated counties;

                   Jury Division Four: whichever is greater, twenty-five thousand
                   (25,000) names or at least one-half o1' one percent of the total
                   number of persons on the source list for the designated counties.

      10. Names   Drawn from Master Jury Wheel
             The Court shall direct the method used to randomly draw prospective jurors fiom the
    master  jury wheel. The number of names to be randomly drawn shall be determined by the
    clerk, based on anticipated juror needs by the court, plus a margin of additional names sufficierf
    to compensate for the estimated number ofjurors that are not available or ineligible.
            The following methods may be used when drawing nanles from the Master Jury V/heel
    for selection of either a grand or petit jury:
             a.    names may be drawn from the rnaster jury wheel frorn all four        jury divisions, on
                   a pro-rata basis from each jury division;

             b.    names may be drawn from the master jury wlreel from a combination of          jury
                   divisions on a pro-rata basis from each jury division; or
             c.    Íìames may be drawn from the rnaster    jury wheel from   a single   jury division.

           The clerk must submit the names on the master jury wheel once a year to be updated and
   corrected through the national change-of-address system of the United States Postal Service.

     11. Summoning Petit Jurors
             a.    Pursuant to 28 U.S.C. $ 1878, the court uses a one-step procedure to
                   sumlnon and qualify petit jurors.



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              b.     The clerk shall randomly draw f¡om the master jury wheel a designated
                     number of persons to be sumrnoned for petit jury service.
              c.     When ordered by a judicial officer, the clerk shall geographically limit the
                     selection of prospective jurors to a specific county or counties within a jury
                     division or jury divisions.
              d.     Names of prospective jurors shall be kept confidential and shall not be
                     disclosed to the public or media, except pursuant to this plan or pursuant to 28
                     U.S.C. $$ 1867 or 1868.
              e.     The term of petit jury service shall ordinarily be one month or as otherwise
                     directed by the court, but may be extended to accommodate atrial that extends
                     beyond the end of the term.

      12. Summoning Grand Jurors
              a.     Pursuant to 28 U.S.C. $ 1878, the court uses a one-step procedure to
                     swnmon and qualify grand jurors.
              b.     The clerk shall randomly draw from the master jury wheel a designated number
                     of persons to be summoned for grand jury service. Grand juries drawn from
                     one division, a combination of divisions or all clivisions may indict fbr any
                     offense in any division of the district.
              c.     The clerk shall prepare a separate list of names o1'persons assigned to each
                     grand jury. The names of grand jurors shall remain confidential unless
                     otherwise ordered by the courl.
              d.     Pursuant to Federal Rule of Crirninal Procedure 6(9), the term of grand jury
                     service shall be no more than eighteen (18) months. An extension may be
                     granted when the court determines it is in the public interest. An extension may
                     be granted fbr no more than six (6) months or as otherwise provided by statule.

              e.     As required by 18 U.S.C. $ 3331 , a special grand jury will be periodically
                     convened, to serve a term of 18 months following the same term of service
                     described in paragraph (d).

     1,3.   Unanticipated Shortase of Jurors
             Pursuant to 28 U.S.C. $ 1866(Ð when there is an unanticipated shortage of available
    petit jurors drawn from the master jury wheel, the chiefjudge may require the United States
    Marshal to summon a sufficient number of petit jurors. Jurors shall be selected at random from
    the source list as specified in the July Plan in a manner ordered by the court consistent with 28
    U.S.C. $$ 1861 and1862.


    JUROR QUALIFICATION, DISQUALIFICATIONO AXEMPTION AND EXCUSES

     14.    Juror Oualifïcation Form
              The juror qualification form presuibed by the Administrative Office of the United



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     States Courts and approved by the Judicial Conference of the United States shall be used.

      15. Comnletion        of Juror Ouestionnaire
            a.        The clerk, or an approved designated mailing service, shall mail to each
                      prospective juror whose name is drawn a juror summons and instructions for
                      cornpleting a jury qualifi cation questionnaire.
            b.        The questionnaire, duly signed and sworn, shall be retumed to the clerk by
                      mail or by electronic format within ten days.
            c.        A person who is unable to fill out the questionnaire shall ask for another
                      person's assistance. That person shall indicate that he or she has provided
                      assistance and explain why it was necessary.

            d         If   a substantive omission, ambiguity, or error appears in a completed
                      questionnaire, the clerk shall retum the questionnaire with instructions to the
                      person to make the required additions or corrections and return the
                      questionnaire within ten days.

            e.        The clerk may summon any person who fails to return a completed juror
                      qualification questionnaire, as instructed, to appear before the clerk to
                      complete the questionnaire.

      16. Determinafion of Ouelifi cation^ Disoualification and Exemntion
            The clerk, under the supervision of the chiefjudge, shall determine qualification,
    disqualification, exemptions and excuses. The determination shall be based on the information
    provided on the juror qualification questionnaire ancl other competent evidence. The clerk shall
    enter the determination of disqualification, exemption or excuse in the appropriate court records.


            a. Disqualifïcation
              Pursuant to the provisions of 28 U.S.C. $ 1865(b), a person shall be qualified to
       serve on grand and petit juries in the district court unless he or she:

                 f.        is not a citizen of the United States;
                 2.        is not yet eighteen years old;
                 3.        has not resided within the district for a period of one year;

                 4.        is unable to read, write, and understand the English language with a degree
                           of proficiency sufficient to satisfactorily fill out the juror qualification form;
                 5.        is unable to speak the English language;
                 6.        is incapable, by reason of merfal or physical infirmity, to render
                           satisfuctory jury service; or
                 7.        has a criminal charge pending against him or her for the commission of, or
                           has been convicted in a state or federal court of, a crime punishable by
                           imprisorunent for more than one year and his or her civil rights have not been



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                         restored. The restoration of civil rights will be based upon the law of the
                         jurisdiction in which the conviction occurred. The prospective juror must
                         provide written documentation of civil rights restoration.

            b. Exemption
              The court finds that jury service would not entail an undue hardship or extreme
       inconvenience to the members of any group of persons or occupational classes, except those
       exempted by statute, as set forth in this plan.
                 Pursuant to the provisions of 28 U.S.C. $ 1863(b)(6), the   following persons   are
       exempt from jury service:
                 1.      members employed on a full-time basis in active service in the Armed
                         Forces of the United States;
                 2.      members employed on a full-tirne basis of the fire and police
                         departments of any state, the District of Columbia, any territory or
                         possession of the United States, or an subdivision of a state, the District
                         of Columbia, or such territory or possession; and
                 3.      public officers employed on a full-time basis in the executive, legislative,
                         or judicial branches of the government of the United States, or any state,
                         the District of Columbia, or such territory or possession, who are actively
                         engaged in the perfurmance of olficial duties. As defìned in 28
                         U.S.C. $ 1869(Ð, a "public officer shall be defined as a person who is either
                         elected to public office or who is directly appointed by a person elected to
                         public office."

     17. Excused From Jurv Service On Individual Request
           All   matters of discretion to excuse from jury service are reserved for detennination by
    the clerk subject to the supervision of the chiefjudge.
           Pursuant to 28 U.S.C. $ 1863(b)(5), the court frnds that jury service by the following
    occupational classes or groups of persons would entail undue hardship or extreme
    inconvenience to the members thereof. Excusing such members is not inconsistent with the
    Jury Selection and Service Act and shall be granted upon individual written request of the
    following:
           a.         a person who has served as a grand or petit    juror in any court, within the    last
                      two years;
           b.         aperson over 70 years ofage;
           c.         a personwho is essential to the care of a child or children under ten years of age
                      wherein undue hardship exists;
           d.         a person who is essential to the care of an aged or infimr person wherein undue
                      hardship exists;
           e.               who resides outside the ìury division from which he or she was
                      a person
                      summoned; or


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            f.     volunteer safety personnel serving a public agency, in an official capacity
                   without compensation, such as a firefighter or member of a rescue squad or
                   ambulance crew,
            (,      a person employed as a federal   law enforcement officer with arresting authority.
            Þ'

      18. Teq,rporarily Excused from Jury Service

             Pursuant to 28 U.S.C. $ 1866(c), the clerk is authorized to grant temporary excuses to
   prospective jurors on the grounds of undue hardship or extreme inconvenience. The names of
   individuals temporarily excused may be reinsefted into the master wheel for possible
   resummoning or to be automatically resummoned.

      19. lmpaneling Jurors
           V/hen directed to do so, summoned jurors shall report to the designated jury assembly
    room of the jury division. Persons reporting that have not completed a juror questionnaire,      if
    detennined to be qualified, may be included in the jury panel for jury selection.


    PENALTIES ASSOCIATED WITH JURY SERVICE VIOLATIONS

     20. Penaltv For Failure To Respond Or Appear for Jury Service
             Any person summoned for jury service failing to respond or appear as directed, or
    willfully misrepresents a material fact for the purpose of evasion ofjury service, may be
    ordered by the court to appear and show cause for fàilure to cornply with the summons. Any
    person failing to show good cause for non-compliance with a summons may be fined,
    imprisoned, ordered to perform community service, or any combination thereof, as provided by
    law. The names of individuals who do not respond to tlie surnmons or f¿il to appear as directed
    may be reinserted into the master wheel for possible resummoning or to be automatically
    resummoned.

     21. Fenaltv for Employers Who Retaliate Asainst Emplovee
           No employer shall discharge, threaten to discharge, intimidate, or coerce any pennanent
    employee by reason of such employee's jury service, or the attendance or scheduled attendance
    in connection with such service. Any ernployer who violates the provisions of this section:
           a.      shall be liable for damages;
           b.      may be enjoined from further violations;
           c.      shall be subject to a civil penalty as provided by law for each violation as to
                   each employee;

           d.      may be ordered to perfomr community service, as provided by law;
           e.      may be ordered to reinstate the employee to his position and restore
                   benefits;
           f.      may be subject to attorney fees and expenses incutred by a prevailing



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                     employee in an action brought pursuant to 28 U.S.C. S 1875.
           Complaints of intimidation or retaliation by an employer against a juror shall be referred
   to the presiding judge for petit jtrrors or the supervising judge of the relevaff grand jury panel for
   grand jurors. Upon finding probable merit in such clairn, counsel may be appointed to the juror
   pursuant to 28 U.S.C. $ 1875(dxl).

    JURY COSTS, FEES, AND EXPENSES

     22. Jurv Costs Assessment
           As governed by the court's local rules, Ìury costs may be assessed against any of the
   parties and/or counsel when any civil action is settled in a manner that prevents the clerk from
   halting a jury impanehnent.

     23. Fees and Expenses
          Payment of expenses as to jury service shall be governed by guidelines and regulations
   promulgated by the Administrative Offrce of the United States Courts.

   MAINTENANCE, INSPECTION, AND DISCLOSURE OF JUROR RECORDS

     24.trdaintenance

          a.         The contents of records or papers used by the Clerk in the process of filling the
                     Master Jury'Wheel or in connection with the jury selection process shall not be
                     disclosed, except pursuant to a motion under 28 U.S.C. $ 1867 challenging the
                     Court's compliance with selection procedures, pursuant to this Plan, or upon order
                     of the Court.

          b.         Except when the Court orders a longer retention period, all jury records and
                     papers may be disposed of four years after the master jury wheel has been refilled
                     and all persons selected have completed jury service in accordance with 28 U.S.C.
                     $ 1868. These records are not to be transferred to the Federal Records Center.

          c.         .Tury records and papers shall be preserved electronically when practicable. The
                     Clerk shall implement and maintain a quality control process for documents
                     stored electronically and electronically preserved documents shall be routinely
                     backed up.

     25. Inspection and Disclosure

               a.   The names and personal information concerning petit and grand jurors shall not be
                    clisclosed to attorneys, parties, the public, or the media, except as provided herein.

               b.   Prior to impanelment of a petit jury, the parties, their lawyers, and any person
                    ernployed by or working with those lawyers, shall ordinarily have access to the list
                    of those jurors summoned to appear and to any supplemental juror questionnaires


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                  issued by the Court for that purpose. Prior to impanelment of a grand jury, the
                  lawyers and staff representing the government shall ordinarily have access to the
                  list ofjurors summoned to appear. The infonnation made available to these
                  individuals shall not be shared except as necessary for jury selection. If the
                  interests ofjustice so require, the Court may order that the names ofjurors remain
                  confidential.

             c.   After  a petitìury has been discharged at the conclusion of any trial, the names and
                  addresses of the jurors may be released to the public only upon leave of the Court.
                  In accordance with Judicial Conference guidance, the Court has detennined that the
                  names of all jurors and potential jurors will not be disclosed in the public docket or
                  in transcripts frled with the Court absent an order of the CourJ. Transcripts or any
                  other trial document containing jurors' names will be filed in redacted fbrm in the
                  public docket. All requests for release ofjuror narres must be made in writing to
                  the presiding trial judge.
            This Revised Jury Plan shall becorne effective upon approval by the Reviewing Panel of
   the Judicial Council of the Tenth Circuit Court of Appeals, or at such time thereafter as the Panel
   shall direct.

  DATED at Denver, Colorado this 7th day of December, 2016

                                                BY THE COURT:


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                                                Marcia S. Krieger
                                                Chief United States District .ludge




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                         MINUTES OF THE JUDICIAL COUNCIL

                                  OF THE TENTH CTRCUIT


                                        January   30,24fi

          On January 27,2017 , the Judicial Council approved the new jury plan for the

   District of Colorado, as submitted by Jeffrey P. Colwell, Clerk of Court on December 14,
   2016. 'Ihe new plan shall be effective on a date of the district court's choosing. Pursuant
   to the Guide to Jwdíciary Palícy a copy oflthe fïnal published plan should be sent to the
   Adrnini.strative Office and the Attorney General of the United States. .$ee Vol. 4, Ch. 3,

   $ 320,30.40.




                                      The Judicial Council

                               Ilv:
                                      Leslee Fathallah
                                      Deputy Circuit Executive
                                      for David Tíghe
                                      Circuit Executive and Secretnry to the
                                      Judicial Council of the Tenth Circuit




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